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                 IN THE UNITED STATES DISTRICT COURT FOR THE

                         WESTERN DISTRICT OF OKLAHOMA

UNITED STATES OF AMERICA,                        )
                                                 )
                        Plaintiff,               )
                                                 )
                 -vs-                            )      No. CR-18-227-SLP
                                                 )
JOSEPH MALDONADO-PASSAGE,                        )
  a/k/a Joseph Allen Maldonado,                  )
  a/k/a Joseph Allen Schreibvogel,               )
  a/k/a “Joe Exotic,”                            )
                                                 )
                        Defendant.               )

           UNITED STATES’ RENEWED MOTION TO UNSEAL
      SENTENCING MEMORANDUM, ATTACHMENTS, AND RESPONSE

       On October 19, 2021, the United States filed a motion asking this Court to unseal

Mr. Maldonado-Passage’s sentencing memorandum and attachments. Doc. 188. On

November 18, 2021, this Court denied the United States’ motion to unseal without

prejudice to refiling with additional information. Doc. 191. Pursuant to the Court’s

invitation, the United States now submits this renewed motion for partial unsealing of

Mr. Maldonado Passage’s sentencing memorandum, attachments, and the government’s

response, to enable the United States to investigate and respond to the claims raised in the

sealed filing.
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                                        Discussion

I.      Case Authority and Defendant’s Prior Disclosure Justify the Partial
        Unsealing of Records

        In its November 18 Order, this Court authorized the United States to re-urge its

request to unseal the sentencing memorandum and attachments thereto by making “a

more particularized showing,” presumably by “point[ing] to authority justifying the

unsealing of records on” the basis “that it is inhibited from using the relevant sealed

documents to investigate the claims made in the Sentencing Memorandum.” Doc. 191 at

2. The authority which this Court indicated the United States needed to present is found

in United States v. Pickard, 733 F.3d 1297 (10th Cir. 2013). Specifically, the Tenth

Circuit explained, “the sealing order prevents [the party seeking unsealing] from using

such information” despite the fact that certain portions of the information was already

public. Id. at 1305 n.7.

        The United States asks this Court to partially unseal Mr. Maldonado-Passage’s

sentencing memorandum and its attachments so the government can investigate the

veracity of the affidavits and other claims in the sentencing memorandum by questioning

affiants and other potential sentencing witnesses with the sealed materials. Further, the

United States requests partial unsealing so it may discuss the sentencing memorandum

and attachments with former government counsel (now Judge) Amanda Maxfield Green.

        Mr. Maldonado-Passage appears to have already provided at least one sealed

attachment to the producers of Tiger King 2, who attempted to use it to question Jeff

Lowe:


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Tiger King 2: Stark Raving Mad at 39:11 (Netflix Nov. 17, 2021). This Court should not

allow Mr. Maldonado-Passage to serve as the gatekeeper to information that this Court

has sealed at his request. If, as it appears, Mr. Maldonado-Passage has permitted Netflix

and the producers of Tiger King 2 to use an affidavit sealed by this Court, then the United

States should have a similar ability to question fact witnesses and to confer with former

government counsel about the contents of the sealed filing.

II.    Mr. Maldonado-Passage’s Reasons for Keeping These Documents Under Seal
       Are Undermined by the Public Actions of His Defense Team

       Moreover, Mr. Maldonado-Passage’s reasons for keeping the attachments to the

sentencing memorandum under seal are spurious. He and his counsel have repeatedly

used social media to show the affiants signing the affidavits that are now under seal, and

they have selectively chosen which portions of those affidavits to be made public through

their posts on social media:




John M. Phillips, Twitter (Oct. 21, 2021), https://twitter.com/JohnPhillips/status/


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1451162470769479681?s=20 (last visited Nov. 18, 2021) (showing John Reinke signing

an affidavit that is presumably the affidavit included in Mr. Maldonado-Passage’s

sentencing memorandum);




John M. Phillips, Twitter (October 20, 2021), https://twitter.com/JohnPhillips/status/

1450787152074362883?s=20 (last visited Nov. 18, 2021) (showing James Garretson

signing an affidavit that is presumably the affidavit included in the sentencing

memorandum);




Joseph Maldonado-Passage, Twitter (Sept. 21, 2021), https://twitter.com/joe_exotic/

status/1440324549103407112?s=20 (last accessed Nov. 18, 2021) (linking to a YouTube

video published by the Law Offices of Phillips & Hunt of Allen Glover being read a

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portion of his affidavit that is presumably the affidavit included in the sentencing

memorandum). Because these documents are sealed at the request of Mr. Maldonado-

Passage, this Court should not allow him to cherry pick what he wishes to disclose

without allowing the United States to use the documents in their entirety when

questioning potential witnesses, conducting its pre-sentencing investigation, and

responding to his allegations against the prosecution team.

       Mr. Maldonado-Passage also asked to keep these records under seal to avoid the

potential that witnesses might be subjected “to potential physical attacks, threats,

harassment, or retaliation.” Doc. 190 at 3; see also Doc. 178 at 2 (originally asking this

court to seal the documents “to protect the identity and security of witnesses who will be

called at the sentencing hearing in this matter”). While such an argument might carry

weight in certain circumstances, Mr. Maldonado-Passage’s concern about the identity of

the witnesses/affiants is undercut by postings of his attorney on social media:




John M. Phillips, Twitter (Sept. 14, 2021), https://twitter.com/JohnPhillips/status/

1437972790863405070?s=20 (last accessed Nov. 18, 2021) (identifying all four affiants

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whose affidavits are currently under seal);




John M. Phillips, Twitter (Sept. 18, 2021), https://twitter.com/JohnPhillips/status/

1439210683338567684?s=20 (last accessed Nov. 18, 2021) (identifying all four affiants

whose affidavits are currently under seal). If Mr. Maldonado-Passage’s counsel is

willing to announce on social media the names of affiants and the nature of those

affidavits, then his alleged concerns of harm from unsealing their affidavits are not

compelling.

       Finally, Mr. Maldonado-Passage’s cannot credibly claim that the subject matter of

the sentencing memorandum and attachments “has not yet been made public” and that he

wants it to “remain confidential until after the sentencing hearing.” Doc. 178 at 2.

Episode 5 of Tiger King 2 largely covered the subject matter of the sentencing

memorandum and affidavits, which had not been made public. It detailed the agreement

between counsel for Mr. Maldonado-Passage and Jeff Lowe. See Tiger King 2: Stark

Raving Mad at 25:29–53 (Mr. Phillips: “My agreement with Jeff Lowe is: Give me an

affidavit, a sworn statement saying you lied about this murder-for-hire plot. I need



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unfettered access to the recordings, and I’m going to look for evidence to help your case

as well. But if they indict you on charges related to the treatment of animals, you’re

looking at time in jail.”). It detailed counsel for Mr. Maldonado-Passage having

conversations and getting an affidavit from James Garretson. See id. at 28:10–29:21. It

followed the interactions between Mr. Glover and counsel for Mr. Maldonado-Passage,

and played portions of a recording between Mr. Glover and Mr. Maldonado-Passage. See

id. at 31:26–38:09. Finally, it provided counsel for Mr. Maldonado-Passage the platform

to summarize the theory he relied upon in the sealed documents. See id. at 38:10–39:05.

Mr. Maldonado-Passage appears more concerned with protecting the exclusivity of his

presentation on Tiger King 2 than keeping information confidential until after the

sentencing hearing.

                                        Conclusion

       The United States has an interest, recognized in Pickard, in using documents filed

under seal by Mr. Maldonado-Passage to investigate the claims he has made—by

confronting individuals with their own affidavits, with affidavits of other witnesses, and

with other contents of the sealed sentencing memorandum, and by discussing that sealed

sentencing memorandum and attachments with former government counsel on the case.

Accordingly, to investigate and address the claims raised in Mr. Maldonado-Passage’s

sealed sentencing filing, the United States respectfully requests a partial unsealing of his

sentencing memorandum and attachments (1) to potential witnesses when conducting




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interviews about the sealed affidavits and other contents of the sentencing memorandum,

and (2) to former government counsel (now Judge) Amanda Maxfield Green. 1

                                           Respectfully submitted,
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                             CERTIFICATE OF SERVICE

        I certify that on December 1, 2021, I electronically filed this motion with the clerk
of court for the U.S. District Court, Western District of Oklahoma, using the electronic
case filing system of the court.


                                           s/ Charles W. Brown
                                           Charles W. Brown
                                           Assistant United States Attorney




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 To the extent they are not already covered in the body of this renewed motion, the
United States incorporates the arguments for unsealing raised in its original motion. See
Doc. 188. The United States retains the position that Mr. Maldonado-Passage’s
sentencing memorandum should be unsealed for the public. But, at a minimum, the
United States asks the Court for partial unsealing, as described above.

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